                   Case 18-00135                     Doc 13             Filed 06/07/18 Entered 06/07/18 14:21:01                                                 Desc Main
                                                                          Document     Page 1 of 6
 Fill in this information to identify your case:

 Debtor 1                   William Claude Abercrombie
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ALASKA

 Case number           18-00135
 (if known)
                                                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $             170,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $              11,334.96

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $             181,334.96

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $                8,800.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $             411,667.00


                                                                                                                                     Your total liabilities $                420,467.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $                3,679.12

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $                3,758.93

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      William Claude Abercrombie                                                 Case number (if known) 18-00135

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       2,648.62


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                 William Claude Abercrombie
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ALASKA

 Case number           18-00135
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      3 Kamilia Hawkinsville, GA 31036                                $170,000.00                              $72,900.00      Alaska Stat. §§ 09.38.010; 8
      Pulaski County                                                                                                           AAC 95.030(a)
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2010 Ford F-150 323216 miles                                      $4,000.00                                $4,000.00     Alaska Stat. § 09.38.020(e); 8
      Line from Schedule A/B: 3.1                                                                                              AAC 95.030(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      King bed and mattress                                               $300.00                                  $300.00     Alaska Stat. § 09.38.020(a)(1);
      Line from Schedule A/B: 6.1                                                                                              8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      dresser, nightstand                                                 $190.00                                  $190.00     Alaska Stat. § 09.38.020(a)(1);
      Line from Schedule A/B: 6.2                                                                                              8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      lamps and armoire                                                    $70.00                                   $70.00     Alaska Stat. § 09.38.020(a)(1);
      Line from Schedule A/B: 6.3                                                                                              8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 1    William Claude Abercrombie                                                                  Case number (if known)     18-00135
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     sofa, chair, coffee table, end tables,                              $300.00                                   $300.00        Alaska Stat. § 09.38.020(a)(1);
     lamps, misc. other living room items                                                                                         8 AAC 95.030(b)(1)
     Line from Schedule A/B: 6.4                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     kitchen pots/pans/cookware;                                         $150.00                                   $150.00        Alaska Stat. § 09.38.020(a)(1);
     eating/cooking utensils; small                                                                                               8 AAC 95.030(b)(1)
     electric appliances                                                                   100% of fair market value, up to
     Line from Schedule A/B: 6.5                                                           any applicable statutory limit

     Hutch, dining table and chairs, china,                              $760.00                                   $760.00        Alaska Stat. § 09.38.020(a)(1);
     stove, dishwasher, microwave,                                                                                                8 AAC 95.030(b)(1)
     refrigerator, dishes, silverware and                                                  100% of fair market value, up to
     misc. kitchen items                                                                   any applicable statutory limit
     Line from Schedule A/B: 6.6

     desk, books and pictures                                            $800.00                                   $800.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 6.7                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     camping equipment                                                   $200.00                                   $200.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 6.8                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     gardening tools                                                     $200.00                                   $200.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 6.9                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     power/hand tools                                                    $130.00                                   $130.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 6.10                                                                                                 8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     28" flat screen TV                                                  $100.00                                   $100.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 7.1                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     cameras and video recorders                                         $300.00                                   $300.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 7.2                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     records and wall art                                                $220.00                                   $220.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 8.1                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     fishing equipment and exercise                                       $80.00                                    $80.00        Alaska Stat. § 09.38.020(a)(1);
     equipment                                                                                                                    8 AAC 95.030(b)(1)
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    William Claude Abercrombie                                                                  Case number (if known)     18-00135
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     hot tub that does not work                                          $100.00                                   $100.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 9.2                                                                                                  8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     mans clothing                                                       $100.00                                   $100.00        Alaska Stat. § 09.38.020(a)(1);
     Line from Schedule A/B: 11.1                                                                                                 8 AAC 95.030(b)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                    William Claude Abercrombie
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ALASKA

 Case number              18-00135
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ William Claude Abercrombie                                            X
              William Claude Abercrombie                                                Signature of Debtor 2
              Signature of Debtor 1

              Date       June 7, 2018                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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